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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


     PENGUIN RANDOM HOUSE LLC;
     HACHETTE BOOK GROUP, INC.;
     HARPERCOLLINS PUBLISHERS
     LLC; MACMILLAN PUBLISHING
     GROUP, LLC; SIMON &
     SCHUSTER, LLC; SOURCEBOOKS
     LLC; THE AUTHORS GUILD;
     JULIA ALVAREZ; JOHN GREEN;
     LAURIE HALSE ANDERSON;
     JODI PICOULT; ANGIE THOMAS;
     HEIDI KELLOGG; and JUDITH
     ANNE HAYES,

          Plaintiffs,

          v.                                Case No. 6:24-cv-1573-CEM-RMN

     BEN GIBSON; RYAN PETTY;
     ESTHER BYRD; GRAZIE P
     CHRISTIE; KELLY GARCIA;
     MARYLYNN MAGAR; TERESA
     JACOBS; ANGIE GALLO; MARIA
     SALAMANCA; ALICIA FARRANT;
     PAM GOULD; VICKI-ELAINE
     FELDER; KAREN CASTOR
     DENTEL; MELISSA BYRD; JAMIE
     HAYNES; ANITA BURNETTE;
     RUBEN COLON; CARL PERSIS;
     and JESSIE THOMPSON,

          Defendants.


        ORDER REQUIRING SHORT-FORM DISCOVERY MOTIONS
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          In an effort “to secure the just, speedy, and inexpensive

    determination” of any action in which this Order is filed, Federal Rule of

    Civil Procedure 1, it is ORDERED as follows:

          (1)   If a discovery dispute arises, the parties must confer in person

    or via telephone in a good faith effort to resolve the dispute before seeking

    court intervention. See Local Rule 3.01(g).

          (2)   If the parties are unable to resolve the discovery dispute, a

    party may seek court intervention, but must do so by filing a Short-Form

    Discovery Motion (the “Motion”) in compliance with this Order. Neither

    the Motion nor any response thereto shall exceed 500 words,

    exclusive of caption, signature block, and certifications.

          (3)   The Movant must attach to the Motion the discovery request

    and discovery response (if applicable).

          (4)   If time-sensitive, the Motion must be filed and captioned as

    “time-sensitive.”

          (5)   Any party opposing the Motion shall file a response no

    later than seven (7) calendar days after the Motion is filed. See Fed.

    R. Civ. P. 6(a). A failure to file a timely response will result in the Motion

    being deemed unopposed.




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          (6)   To resolve the dispute, the Court may decide the dispute on

    the basis of the Motion and any response, set a hearing, or order further

    briefing.

          (7)   In the Motion or response, a party may request additional

    briefing, but such a request must accompany, and not replace, the

    substantive argument.

          (8)   The parties must continue to confer concerning the dispute

    and must promptly notify the Court if they resolve the Motion in whole or

    in part.

          (9)   If a hearing is set, the parties shall file a joint notice

    two (2) calendar days before the hearing certifying ongoing conferral

    and stating which issues, if any, have been resolved.

          The Court expects all parties to act courteously and professionally

    in the resolution of their discovery disputes. The Court may impose

    appropriate sanctions upon a finding of failure to comply with this Order

    or upon a finding of other discovery misconduct.

          DONE and ORDERED in Orlando, Florida, on December 6, 2024.




    Copies furnished to:

    Counsel of Record

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